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EXHIBIT A

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DUBOSE MILLER

ATTORNEYS AT LAW
75 14TH STREET N.E., SUITE 2110 ~ ATLANTA, GEORGIA 30509
TELEPHONE 404.720.8111 0 FACSIMIL[~: 404.921.955? - www.DUBOSEMILLER.COM

 

August 11,201'?r

BY CERTIFIED MAIL!RETURN RECEIPT REQUESTED

Mr. Mike Boyce, Chairman

Cobb County Board of Com.missioners
100 Cherokee Street

Marietta, GA 30090

Mr. Bob Ott

Cobb County Board of Commissioners
100 Cherokee Street

Marietta, GA 30090

Ms. Lisa Cupid

Cobb County Board of Commissioners
100 Cherokee Street

Marietta, GA 30090

Ms. Deborah Dance
Cobb County Attorney
100 Cherokee Street
Marietta, GA 30090

Mr. Bob Weatherford

Cobb County Board of Commissioners
100 Cherokee Street

Marietta, GA 30090

Ms. JoAnn Birrell

Cobb County Board of Commissioners
100 Cherokee Street

Marietta, GA 30090

Mr. Rob Hosack

Cobb County Manager
100 Cherokee Street
Marietta, GA 30090

Ms. Pamela Mabry

Cobb County Clerk
100 Cherokee Street
Marietta, GA 30090

Re: Claim of Neghasi Middleton (a minor) and Tahiranhana Williams (parent)
Cobb County Police Department Officer involved shooting which occurred
on Nellie Court, Mableton, Georgia on November 6, 2016

Sub}`ect Matter: (1) Ante Litem Notice of Claim Pursuant to O.C.G.A. §36-
11-1; and (2) Request for Insurance Information Pursuant to O.C.G.A. §33-

3-28

Dear Commissioners, Mr. Hosack and Ms. Dance:

Please be advised that I have been retained by Neghasi Middleton (a minor) and
Tahiranhana Williams, his mother, to represent them in their claims against Cobb County, the

Cobb County Police Department, and its employees and representatives Neghasi Middleton
suffered serious injuries after being shot from behjnd, while unarmed and without justification,

by Ofticer James Caleb E11iott of the Cobb County Police Departrnent on November 6, 2016.

The shooting occurred in the middle of the street on Nellie Court in Mableton, Georgia. The

bullet tore through Neghasi’s leg, causing him to suffer physical injury, and extreme pain and

suffering, as well as emotional and psychological damages

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At all relevant times, Ot`iicer Elliott was employed by and acting on behalf of Cobb
County.

'I`his letter serves as formal ante litem notice pursuant to O.C.G.A. § 36-11-1 of
negligence claims, by Neghasi Middleton and Tahiranhana Wi]liams, as well as assault and
battery claims, intentional intliction of emotional distress claims individually and as parent and
natural guardian of her minor son,, Neghasi Middleton.

Cobb County was responsible in whole or in part for the injury to Neghasi Middleton. As
the Board of Commissioners is responsible for the day to day operation of Cobb County,
including the Cobb County Police departrnent, and for appointing the Chief of Police, as well as
for adopting and implementing rules and regulations for employees of Cobb County, including
Cobb County Police officers

Neghasi suHered injuries to his left leg when the bullet shot by Officer Elliott struck hirn.
The use of deadly force by Ofticer Elliott was not warranted under the circumstances, nor
justified by law.

Cobb County had actual knowledge as a result of complaints filed by residents, that
oificers, including Oiiicer Elliott, were using excessive force in violation of constitutional
protections under the United States and State of Georgia Constitutions, as well as the Cobb
County Code for police ot`licers.

In spite of these complaints, Cobb County failed to take reasonable steps to sanction
Otiicer Elliott or officers, or to ensure that they were adequately trained in constitutional use of
force.

As a direct and proximate result of Officer Elliott’s malicious and intentional conduct,
and your negligence in hiring and failing to adequately supervise, sanction, and train him, my
client has suii`ered severe and permanent injuries Additionally, Neghasi has incurred substantial
medical expenses, which currently exceed $31,000.00 (bill enclosed), and are continuing This
amount will be supplemented upon receipt of additional outstanding medical bills.

Neghasi has additionally sufi`ered psychological injuries which are also ongoing and for
which he is receiving treatment While making a demand is difficult at this time due to Neghasi’s
ongoing treatment and uncertain prognosis, my clients have authorized me to make a demand for
settlement in the amount of $1,000,000.00 at this time.

Non-economic damages, admittedly, are more diiiicult to delineate Juries consider
countless variables such as the victim’s age, experience in life, lifestyle before and after the
incident and of course, past, present and future pain and suffering Indeed, it is also difficult to
know the amount of punitive damages a jury mighth for your oMcer’s willful and wanton
actions taken against a child. Accordingly, this demand may change given Neghasi’s ongoing
medical treatment and other variables

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Please make a note of this ante litem notice and the claims I am submitting on behalf of

my clients. Please have a representative of your oMce contact me at your earliest convenience to
discuss this matter further.

Additionally, in accordance with O.C.G.A. §33-3-28(a)(2), please identify, within 30
days of your receipt of this letter, the name of each known insurer which may be liable for my
client’s loss by sending a letter including such information to my attention

Finally, please preserve any and all documents, records, physical evidence, photographs,
witness statements and any other evidence relevant to Ofl:icer Elliott and the shooting of Neghasi
Middleton on November 6, 2016.

Thank you for your consideration

 

cc: Pamela Mabry (pamela.mabry@cobbcounty.org)

